   Case 23-13359-VFP Doc 2197 Filed 09/21/23 Entered 09/21/23 09:08:23                       Desc Main
                             Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 9
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                                     Order Filed on September 21, 2023
                                                                     by Clerk
                                                                     U.S. Bankruptcy Court
                                                                     District of New Jersey



In Re:                                                   Case No.:            23-13359-VFP
Bed Bath & Beyond Inc.
                                                         Chapter:                    11

                                                          Judge:            Michael B. Kaplan




CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER REGARDING THE PLAINTIFF’S
  MOTION FOR RELIEF FROM THE STAY PURSUANT TO 11 U.S.C. § 362(D) TO CONTINUE
                            PENDING LITIGATION


         The relief set forth on the following page is ORDERED.




DATED: September 21, 2023
Case 23-13359-VFP           Doc 2197    Filed 09/21/23 Entered 09/21/23 09:08:23   Desc Main
                                       Document     Page 2 of 9


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 In re:                                                 Chapter 11

 BED BATH & BEYOND INC., et al.,                        Case No. 23-13359 (VFP)

          Debtors.1                                     (Jointly Administered)



          CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER
        REGARDING THE PLAINTIFF’S MOTION FOR RELIEF FROM THE
    STAY PURSUANT TO 11 U.S.C. § 362(D) TO CONTINUE PENDING LITIGATION
Case 23-13359-VFP     Doc 2197    Filed 09/21/23 Entered 09/21/23 09:08:23        Desc Main
                                 Document     Page 3 of 9



       The relief set forth on the following pages, numbered three (3) through seven (7), is

 ORDERED.




                                             2
Case 23-13359-VFP       Doc 2197    Filed 09/21/23 Entered 09/21/23 09:08:23             Desc Main
                                   Document     Page 4 of 9
 (Page | 3)
 Debtors:              BED BATH & BEYOND INC., et al.
 Case No.              23-13359-VFP
 Caption of Order:     CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER
                       REGARDING THE PLAINTIFF’S MOTION FOR RELIEF FROM THE
                       STAY PURSUANT TO 11 U.S.C. § 362(D) TO CONTINUE PENDING
                       LITIGATION

        This Stipulation and Protective Order (the “Stipulation”) is entered into between the

 above-captioned debtors and debtors in possession (collectively, the “Debtors”), Safety National

 Casualty Corporation (“Safety National”), and Phyllis Eichner (the “Plaintiff,” and, together with

 the Debtors and Safety National, the “Parties”) who stipulate and agree as follows.

        WHEREAS, on November 11, 2022, the Plaintiff filed her Third Amended Complaint

 and Jury Demand against Bed Bath & Beyond Inc. (“BBB”), Dan Nguyen, Hamilton Commons

 TEI Equities, LLC, Stanley Access Technologies, and various Doe defendants (collectively,

 excluding BBB, the “Non-Debtor Defendants”) in the Superior Court of New Jersey, Atlantic

 County (the “State Court Action”), to recover, among other things, damages arising from various

 personal injury-related causes of action (the “Claims”). See Phyllis Eichner v. Bed, Bath &

 Beyond Inc., et al., Case No. ATL-L-2254-21.

        WHEREAS, on April 23, 2023 (the “Petition Date”), the Debtors filed voluntary

 petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

 Code”) in the United States Bankruptcy Court for the District of New Jersey (the “Court”),

 which triggered these bankruptcy proceedings (the “Bankruptcy Proceedings”). The Debtors

 operated their businesses and manage their properties as debtors in possession pursuant to

 sections 1107 and 1108 of the Bankruptcy Code throughout the Bankruptcy Proceedings.

        WHEREAS, upon the Debtors’ filing of their chapter 11 petitions, the State Court

 Action was stayed automatically pursuant to section 362 of the Bankruptcy Code (the “Stay”) as

 to BBB. On August 18, 2023, the Plaintiff filed a Notice of Motion for Relief from Automatic
Case 23-13359-VFP         Doc 2197    Filed 09/21/23 Entered 09/21/23 09:08:23           Desc Main
                                     Document     Page 5 of 9
 (Page | 4)
 Debtors:                BED BATH & BEYOND INC., et al.
 Case No.                23-13359-VFP
 Caption of Order:       CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER
                         REGARDING THE PLAINTIFF’S MOTION FOR RELIEF FROM THE
                         STAY PURSUANT TO 11 U.S.C. § 362(D) TO CONTINUE PENDING
                         LITIGATION

 Stay (the “Motion”) [Docket No. 1925] seeking to adjudicate, liquidate, and obtain a judgment as

 to BBB in the State Court Action and recover from applicable insurance carriers, if any.

         WHEREAS, on September 5, 2023, Safety National filed a reservation of rights with

 respect to the Motion [Docket No. 2122] and the Debtors filed an objection with respect to the

 Motion [Docket No. 2126];

         WHEREAS, the hearing on the Motion was adjourned from September 12, 2023 to such

 date as to be determined by the Parties at the availability of the Court, pending the agreement of

 the Parties to this Stipulation;

         WHEREAS, the Debtors maintained a general commercial liability insurance policy

 (the “Insurance Policy”) through Safety National during the period in which the Claims were

 alleged to occur, which may apply to such Claims;

         WHEREAS, the Parties have entered into this Stipulation and agreed to be bound by its

 terms, subject to approval by the Court, to provide Plaintiff’s counsel a copy of the Insurance

 Policy on a professionals’ eyes-only basis.

         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

 APPROVAL BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO

 ORDERED as follows:

         1.      The foregoing recitals are hereby incorporated by reference into this Stipulation

 with the same force and effect as if set forth fully hereinafter.

         2.      This Stipulation shall not become effective unless and until it is approved and

 entered by the Court (the “Stipulation Effective Date”).
Case 23-13359-VFP        Doc 2197      Filed 09/21/23 Entered 09/21/23 09:08:23            Desc Main
                                      Document     Page 6 of 9
 (Page | 5)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER
                        REGARDING THE PLAINTIFF’S MOTION FOR RELIEF FROM THE
                        STAY PURSUANT TO 11 U.S.C. § 362(D) TO CONTINUE PENDING
                        LITIGATION

        3.      Upon the Stipulation Effective Date, the Debtors shall provide Plaintiff’s

 undersigned counsel a copy of the Insurance Policy on a professionals’ eyes-only basis. Safety

 National shall cooperate in good faith to ensure the Debtors provide such copy of the Insurance

 Policy and shall not interfere with its provision in any way, unless it is shared in a manner

 contrary to the terms of this Stipulation.

        4.      The Insurance Policy shall be treated by all Parties as strictly confidential and

 shall be reviewed on a professionals’ eyes-only basis. For the avoidance of doubt, counsel for

 the Plaintiff may share relevant portions of the Insurance Policy and discuss the same with the

 Plaintiff; provided, however, that neither Plaintiff nor counsel for the Plaintiff shall share or

 discuss the Insurance Policy with any other party in interest, other than the Debtors’ and Safety

 National’s retained professionals.

        5.      To the extent Plaintiff cites, uses, or otherwise references any language or term of

 the Insurance Policy in any pleading before the Court filed with respect to the Debtors’ objection

 to the Motion or Safety National’s reservation of rights, the Plaintiff shall redact any such

 reference to the Insurance Policy. The unredacted version of any pleading filed by the Plaintiff

 with respect to the Debtors’ objection to the Motion or Safety National’s reservation of rights as

 well as the Insurance Policy shall be forwarded to this Court under seal.

        6.      Neither this Stipulation nor any terms contained herein shall be offered or

 received in evidence or in any way referred to in any legal action or administrative proceeding

 among or between the Parties other than as may be necessary to do the following: (a) as

 permitted in Paragraph 5 of this Stipulation, (b) obtain approval of or to enforce this Stipulation,
Case 23-13359-VFP        Doc 2197    Filed 09/21/23 Entered 09/21/23 09:08:23            Desc Main
                                    Document     Page 7 of 9
 (Page | 6)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER
                        REGARDING THE PLAINTIFF’S MOTION FOR RELIEF FROM THE
                        STAY PURSUANT TO 11 U.S.C. § 362(D) TO CONTINUE PENDING
                        LITIGATION

 or (c) seek damages or injunctive relief in connection with any violation(s) of the terms of this

 Stipulation.

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

 provided by this Stipulation.

        8.      Neither the Stipulation nor any negotiations and writings in connection with this

 Stipulation will, in any way, be construed as or deemed to be evidence of or an admission on

 behalf of any Party regarding any claim or right that such party may have against the other Party.

        9.      Nothing in this Stipulation shall limit the Plaintiff’s ability to later seek

 production of the Insurance Policy pursuant to the terms applicable law in this Case or the State

 Court Action. All rights, defenses, arguments to Safety National and Debtors’ production of the

 Insurance Policy, if the same is sought by Plaintiff, are hereby reserved.

        10.     Each of the Parties hereto represents and warrants it is duly authorized to enter

 into and be bound by this Stipulation.

        11.     This Stipulation shall not be modified, altered, amended, or vacated without the

 written consent of the Parties hereto. Any such modification, alteration, amendment, or vacation,

 in whole or part, shall be subject to the approval of the Court.

        12.     This Stipulation may be executed in multiple counterparts, any of which may be

 transmitted by facsimile or electronic mail, and each of which will be deemed an original, but all

 of which together will constitute one instrument.

        13.     The terms and conditions of this Stipulation shall be immediately effective and

 enforceable upon its entry.
Case 23-13359-VFP        Doc 2197     Filed 09/21/23 Entered 09/21/23 09:08:23       Desc Main
                                     Document     Page 8 of 9
 (Page | 7)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER
                        REGARDING THE PLAINTIFF’S MOTION FOR RELIEF FROM THE
                        STAY PURSUANT TO 11 U.S.C. § 362(D) TO CONTINUE PENDING
                        LITIGATION

        14.     The Court retains exclusive jurisdiction to resolve any dispute arising from or

 related to the interpretation or enforcement of this Stipulation.
Case 23-13359-VFP         Doc 2197    Filed 09/21/23 Entered 09/21/23 09:08:23          Desc Main
                                     Document     Page 9 of 9



Dated: September 20, 2023

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